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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA



 DAVID SAULSBERRY,

 Plaintiff,                                                        Case No. 21-CV-62362

 vs.                                                               CIVIL COMPLAINT

 BRITNEY ELDER,                                                    DEMAND FOR JURY TRIAL

 a/k/a “FTN Bae”,

 Defendant.

                          COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiff, DAVID SAULSBERRY (“Plaintiff”), hereby sues Defendant, BRITNEY

 ELDER (“Defendant”), a/k/a “FTN Bae”, an individual. In support, Plaintiff alleges as follows:


                                             I. THE PARTIES

 A. Plaintiff

       1. Plaintiff is a major recording artist signed to a major music label who performs under the

           name “Doodie Lo.”

       2. Plaintiff is a resident of the State of Illinois.


 B. Defendant

       3. Defendant is a social media adult model and influencer with almost 600,000 followers on

           Instagram and Twitter and is an independent music artist known by the moniker “FTN

           Bae.”

       4. Defendant manages and controls all of her social media accounts directly.

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     5. Defendant is a resident of the State of Florida.


                                          II. NATURE OF ACTION

     6. Plaintiff seeks to recover damages for the defamatory statements made by Defendant.

     7. The Defendant disparaged the reputation and character of Plaintiff on the public forums

          Instagram and Twitter on October 27, 2021 when Defendant published a doctored

          recording of her minor son crying and in obvious duress stating that Plaintiff had sexually

          abused him.

     8. The Defendant had made several recordings of her minor son prior to publishing the

          recording on October 27th which Defendant sent to Plaintiff taunting him with the various

          recordings prior to her publication on October 27th.1

     9. Defendant made statements concerning Plaintiff to the public at large which were false,

          defamatory and injurious to Plaintiff’s professional and personal reputation.

     10. Defendant made false statements concerning Plaintiff and designed to injure the Plaintiff

          such as:

              a. The Plaintiff being a homosexual child abuser,

              b. The Plaintiff sexually abusing her son with a foreign object, and

              c. The Plaintiff inserting a foreign object, allegedly three nails welded2 together, into

                   her son’s rectum.




 1
   Plaintiff is in possession of, at minimum, 4 four separate recording of Defendant manipulating her son and telling
 him what to and not to say that Defendant sent to the Plaintiff between October 15th and 27th. Plaintiff can provide
 these recordings at any time in any manner preferable to the Court.
 2
   Defendant in her posts says “welted” but due to limited vocabulary wrote the incorrect term. Defendant advanced
 and alleged Plaintiff used some type of fusion technique to bind three screws and then took those welted/welded
 screws and inserted them in the rectum of Defendant’s son.
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    11. This action follows common law tort claims under Florida law including libel, trade libel,

       slander, defamation, tortious interference with business relations, and infliction of

       emotional distress.

    12. In order to fully compensate Plaintiff for the loss, perpetual reputational harm, emotional

       distress, and mental anguish suffered as a result of Defendant’s false statements and

       attacks, this action seeks actual damages in excess of Five Million Dollars ($5,000,000)

       and punitive damages in excess of Ten Million Dollars ($10,000,000)


                              III.        JURISDICTION AND VENUE

    13. This Court has original jurisdiction under 29 U.S.C. § 1332 because there is diversity

       between the parties and the amount in controversy exceeds $75,000.00.

    14. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because the events

       giving rise to the claims occurred in this jurisdiction.

    15. Plaintiff has suffered substantial and perpetual reputational and emotional harm in this

       district.

    16. Defendant caused harm to Plaintiff in this jurisdiction but also directed her actionable

       statements to Plaintiffs’ current and future customers in the Southern District of Florida.


                   IV. JURY DEMAND and CLAIM FOR PUNITIVE DAMAGES

    17. Plaintiff demands a trial by jury in this action.

    18. Plaintiff also brings a claim for punitive damages against the Defendant for all counts.


                                     V.      FACTUAL BACKGROUND

    19. Plaintiff met Defendant online in May 2021.

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     20. Plaintiff and Defendant began a romantic involvement shortly thereafter.

     21. The relationship between Plaintiff and Defendant was casual but Defendant wanted a

         more serious relationship with Plaintiff.

     22. Due to Plaintiff’s hectic lifestyle and overall mindset Plaintiff declined to be in a serious

         relationship with Defendant.

     23. In mid-September, 2021 after Defendant visited Plaintiff in Atlanta3, where Plaintiff

         resides for work, Plaintiff ended the relationship permanently with the Defendant.

     24. Defendant did not take this well and began her intentional campaign to defame and

         destroy Plaintiff for rejecting her.

     25. Defendant alleged on October 1st her son told her a “story” that he was sexually assaulted

         with screws inserted in his anus by another minor child “Alex.”

     26. Initially, Defendant used this “story” as an excuse to begin communication with Plaintiff

         where she communicated with Plaintiff her son informed her he had been sexually

         abused.

     27. Plaintiff encouraged the Defendant to have her son checked out at a hospital as he had

         family who had been sexually abused and that any potential sexual abuse should be

         immediately confirmed by medical professionals.

     28. Defendant has always asserted and it is undisputed that Defendant’s minor child’s initial

         account to the Defendant was that “Alex” assaulted him. It is further undisputed that the

         Defendant was the one who advanced, and otherwise encouraged, to her minor son that




 3
  Defendant posted, and the post remains on Instagram @ftnbae_ dated September 15th of the Defendant in the
 bathroom of Plaintiff’s residence. This post remains on Defendant’s Instagram page despite Defendant making
 defamatory and slanderous statements against Plaintiff.
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       the Plaintiff had assaulted him and not the “Alex” the child initially disclosed. (Exhibit

       “A”)

    29. On October 3rd the Defendant took her son to his first football game, as evidenced in her

       Twitter post. (Exhibit “B”)

    30. After the football game Defendant took her son to the hospital for an evaluation regarding

       the sexual abuse, 2 days after the child initially reported the abuse and after the child had

       played in a physical game of football mere hours prior to the medical exam.

    31. After the medical exam Defendant called Plaintiff to inform him that the hospital found

       nothing wrong with the child during their examination.

    32. Plaintiff then returned to his dismissive behavior of Defendant as he had previously

       ended his dealing with her in September.

    33. Being further angered by Plaintiff’s continued rejection, Defendant then began contacting

       Plaintiff and alleging that Plaintiff and not “Alex”, as alleged by the minor child, was the

       one who assaulted the minor child.

    34. Plaintiff vehemently denied such allegations and questioned Defendant’s motive for now

       changing the narrative of who assaulted her son, despite there being no evidence that the

       child was even assaulted in the first place.

    35. Plaintiff requested the Defendant contact police and that Plaintiff would participate in

       any request to clear his name of any wrongdoing and affiliation with such a heinous

       crime.




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     36. Defendant began to torment Plaintiff sending him various audio recordings of Defendant

         interrogating her son over the alleged sexual assault.4

     37. Defendant also sent Plaintiff a document for release of medical records from the Broward

         County Sheriff’s office. (Exhibit “C”)

     38. Defendant then told Plaintiff that the medical release form was fraudulent and that she

         sent it in an effort to get a rise out of the Plaintiff and that there was no complaint filed or

         otherwise any reason to contact the Broward Sherriff.

     39. Defendant used her social media, Instagram and Twitter, to set the scene for the big

         reveal the entire month of October.5

     40. On October 22, 2021 Defendant tweeted “I think everyone should know who he is.”

         October 22nd is the Plaintiff’s birthday which the Defendant undoubtedly knew and wrote

         this tweet in an effort to harass and otherwise ruin Plaintiff’s birthday. (Exhibit “D”)

     41. Defendant then continued to tweet subliminal messages regarding the situation

         culminating in the recording Defendant posted on October 27th, 2021 on both Instagram

         and Twitter. To date the posts Defendant made falsely accusing the Plaintiff of a

         infamous crime are the highest liked and commented posts she has ever received.

         Defendant’s Instagram post has been viewed over one million times and her Twitter post

         was viewed almost 40,000 times far surpassing anything else Defendant has ever posted

         on any of her social platforms. (Exhibit “E”)




 4
  Plaintiff is in possession of such recordings and will disclose them to the Court upon demand.
 5
  Plaintiff has screen recorded and has for evidence ALL of Defendant’s tweets for the month of October and is
 available upon demand.
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                                   VI.   HARM TO PLAINTIFF

    42. The publication of these statements by Defendant directly and proximately caused

       substantial and permanent damage to Plaintiff.

    43. As a direct and proximate result of Defendant’s publication of these statements:

           a. Plaintiff suffered permanent, perpetual harm to his reputation,

           b. Plaintiff suffered and will continue to suffer emotional and mental distress,

           c. Plaintiff forever lost clients, business opportunities and lifetime fanbase value,

               and

           d. Plaintiff suffered financial damage.

    44. Defendant published her statements with both actual malice and common law malice,

       thereby entitling Plaintiff to an award of punitive damages

    45. As a direct and proximate result of these statements, Defendant created a false reputation

       for Plaintiff, which is publicly accessible. This false reputation is publicly accessible on

       Instagram, Twitter, YouTube, Google and other search engines, with a simple search of

       either Plaintiff or Defendant’s online names (“Doodie Lo” and/or “FTN Bae”).

    46. As a direct and proximate result of these statements, third parties were falsely convinced

       of said false reputation.

    47. Plaintiffs suffered severe economic injury from Defendants tortious comments.

    48. Plaintiff’s album release was severely impacted by Defendant’s tortious comments,

       Plaintiffs was unable to take advantage of further beneficial externalities afforded by his

       profession as a musician.

    49. All conditions precedent to this lawsuit have occurred, been satisfied or been waived.


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                                           VII. COUNTS

                                   COUNT 1 - LIBEL PER SE

    50. Plaintiff reasserts and incorporates by reference paragraphs 1 through 49 in this

       Complaint as if fully restated herein.

    51. Defendant’s written statements published on her Instagram and Twitter pages on October

       27, 2021 were libelous per se as the statements contained false and inflammatory

       accusations.

    52. Defendant’s written statements published on her Instagram and Twitter pages on October

       27, 2021 considered alone without innuendo overtly and blatantly accused the Plaintiff of

       the crime of child sexual assault and battery, a criminal felony and certainly an infamous

       crime.

    53. Defendants’ statements and publications described herein concerned Plaintiff and were

       false.

    54. Defendant’s statements, has certainly, subjected Plaintiff to hatred, distrust, ridicule

       contempt or disgrace as accusations of child sexual abuse often do. Plaintiff has received

       death threats and is unable to perform or otherwise make a living due to Defendant’s

       statements.

    55. Defendant’s statements injured Plaintiff in his profession as a music recording artist as

       Plaintiff has been unable to release his album or continue to travel performing on tour as

       Plaintiff was engaged in prior to Defendant’s statements.

    56. Defendant’s statements were widely published and not privileged in any manner.

    57. Defendant’s statements were made with reckless disregard of their truth or falsity and

       with malice.
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    58. Defendant’s statements forever falsely taint and permanently damage Plaintiff.

    59. By reason of these acts, Plaintiffs has suffered substantial injury, including but not

        limited to financial loss in excess of $5 million. By reason of Defendant’s libel per se,

        Plaintiffs is entitled to all actual, compensatory, and punitive damages proved at the time

        of trial.

    60. Defendant knew that her allegations were false and made these statements with express

        and implied malice. Defendant knew or should have known that such statements were

        false when she published them. Nonetheless, Defendant published such false statements

        recklessly and in conscious disregard of the truth. Further, Defendant committed such

        acts maliciously, oppressively, and fraudulently, with ill will and an evil intent to defame

        and injure Plaintiff. Plaintiff, therefore, seeks an award of actual, compensatory, and

        punitive damages in an amount to be proven at trial, but not less than $10 million.


 WHEREFORE, Plaintiff demands judgment against Defendant, for monetary damages,

 including punitive damages and for such further relief as the Court deems just and proper.


                                   COUNT 2 - TRADE LIBEL

    61. Plaintiff reasserts and incorporates by reference paragraphs 1 through 49 in this

        Complaint as if fully restated herein.

    62. As set forth above, Defendant published falsehoods, which were, and are, openly and

        freely communicated to any third party visiting the internet on YouTube, Instagram,

        Twitter, Blog sites The Shade Room, DJ Akademiks and an online search on any search

        engine of either “Doodie Lo” or “FTN bae.”


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     63. These falsehoods are directed at Plaintiffs’ customers and those considering buying

        music or booking performances from Plaintiff.

     64. Defendant knew or reasonably should have known that her efforts setting up the

        information and reveal on her online platforms, including her intentional and explicit use

        of falsehoods, would likely result in inducing others not to deal with Plaintiff.

     65. In fact, Defendant’s falsehoods play a material and substantial part in inducing others not

        to deal with Plaintiff as Plaintiff has lost performance and contract opportunities due to

        Defendant’s published falsehoods.

     66. Plaintiff suffered injury because of Defendant’s publication of false statements, which

        tends to be prejudicial against Plaintiffs’ conduct of a trade or business, tends to

        disparage Plaintiffs’ products, and tends to deter third persons from dealing in business

        with Plaintiff.

     67. As a result of Defendant’s publication of the false and defamatory matter, Plaintiff was

        greatly injured in reputation and credit and special damages were proximately caused as a

        result of Defendant’s falsehood. Plaintiffs’ business has suffered great loss of customers,

        fan base, and has been deprived of great gains and profits, which otherwise Plaintiff

        would have made, and has otherwise sustained loss and injury, in an amount to be proven

        but regardless exceeding $1,000,000.

     68. Defendant’s conduct complained of herein is malicious, fraudulent, knowing, willful, and

        deliberate.




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  WHEREFORE, Plaintiff demands judgment against Defendant, for monetary damages,

  including punitive damages, in an amount to be determined, and for such further relief as the

  Court deems just and proper.


                                     COUNT 3 - SLANDER PER SE

     69. Plaintiff reasserts and incorporates by reference paragraphs 1 through 49 in this

         Complaint as if fully restated herein.

     70. Defendant’s statements and publications described herein concerned Plaintiff and were

         false.

     71. Defendants’ written and published statements were slanderous per se as they contained

         specific statements designed to negatively impact Plaintiff’s personal and professional

         reputation, as well as his standing within the music industry.

     72. Defendant’s statements were widely published and not privileged in any manner.

     73. Defendant’s statements were made with reckless disregard of their truth or falsity and

         with malice.

     74. Defendant’s statements forever falsely taint and permanently damage Plaintiff.

     75. The defamatory, slanderous and libelous statements made by Defendant caused

         substantial harm to the personal and professional reputation of plaintiff and caused

         substantial economic damages to the Plaintiff.


  WHEREFORE, Defendant should be found to have slandered the Plaintiff causing damages.

  Plaintiff requests judgment against the Defendant for slander and an award of compensatory

  damages, including consequential and incidental damages, interest and costs incurred as a result

  of bringing this action, and for any other relief as the Court finds just and proper.
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                               COUNT 4- DEFAMATION PER SE

     76. Plaintiff reasserts and incorporates by reference paragraphs 1 through 49 in this

         Complaint as if fully restated herein.

     77. Defendant defamed Plaintiff by stating Plaintiff sexually assaulted her son even after

         Defendant’s son told her he had been assaulted by someone else. It is important to note

         that at no time, prior to the Defendant’s coercion, did the minor child disclose to

         Defendant that Plaintiff had assaulted him.

     78. Defendant falsely communicated in writing, and published online, that Plaintiff had

         sexually assaulted her son despite the Defendant’s son telling her otherwise and there

         being no physical evidence of the minor child even being assaulted in the first place.

     79. The defamatory statements made by Defendant about Plaintiff subjected Plaintiff to

         hatred, distrust, ridicule, contempt or disgrace, and injured Plaintiff in his profession.

     80. The defamatory, slanderous and libelous statements made by Defendant caused

         substantial harm to Plaintiff personal and professional reputation impacted his music

         career and caused substantial economic damages to the Plaintiff.


  WHEREFORE, Defendant should be found to have defamed Plaintiff. Plaintiff demands

  judgment against Defendants, for damages, including punitive damages, in an amount to be

  determined, and for such further relief as the Court deems just and proper.


           COUNT 5 - TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS

     81. Plaintiff reasserts and incorporates by reference paragraphs 1 through 49 in this

         Complaint as if fully restated herein.


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     82. At the time of Defendant’s wrongful acts as alleged herein, Plaintiffs had business

         relations with various parties including record labels and other recording artist for

         services, business relations with his current label and obligations therein, as well business

         relations with prospective parties who wished to engage in procuring the Plaintiff in the

         entertainment industry.

     83. Defendant was aware of the nature of these relationships due to Defendant’s personal

         relationship with Plaintiff as well as Plaintiff’s publicized connections and affiliations

         through his label.

     84. Defendant intentionally and unjustly interfered with Plaintiffs’ existing and prospective

         business relations by falsely publicly accusing Plaintiff of sexually assaulting her minor

         son.

     85. As a direct and proximate result of Defendant’s interference, Plaintiff has suffered

         substantial monetary injury. Defendant committed such acts maliciously, oppressively,

         and fraudulently, with ill will and an evil intent to damage Plaintiff. Plaintiff, therefore,

         reserves the right to seek an award of actual, compensatory, and punitive damages in an

         amount to be proven at trial, but not less than $10 million.


  WHEREFORE, Plaintiff demands judgment against Defendants, for monetary damages,

  including punitive damages, in an amount to be determined, and for such further relief as the

  Court deems just and proper.


          COUNT 6 - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

     86. Plaintiff reasserts and incorporates by reference paragraphs 1 through 49 in this

         Complaint as if fully restated herein.
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     87. Defendant’s libel, slander and defamation of Plaintiff in the manner set forth above

         constitutes deliberate or reckless infliction of mental suffering upon Plaintiff.

     88. Defendant’s defamation of Plaintiff in the manner set forth above constitutes outrageous

         conduct.

     89. Defendant’s statements and conduct were extreme and outrageous and not one of any

         reasonable person.

     90. Defendant acted recklessly and intentionally.

     91. Defendant’s conduct complained of herein was outrageous and went beyond all bounds

         of decency, and is regarded as odious and utterly intolerable in a civilized community.

     92. Defendants outrageous conduct as described above caused and continues to cause

         Plaintiff severe emotional distress.

     93. Defendant knew and intended Plaintiff suffer severe emotional distress as a result of her

         extreme and outrageous statements and conduct.

     94. As a result of Defendant’s extreme and outrageous conduct, Plaintiff was, is, and with a

         high degree of likelihood will continue to be emotionally distressed due to Defendant’s

         statements.

     95. As a result of Defendant’s extreme and outrageous conduct, Plaintiff has suffered and

         will continue to suffer mental pain and anguish, severe emotional trauma, embarrassment

         and humiliation.


  WHEREFORE, Defendant should be found to have intentionally caused emotional distress to

  Plaintiff. Plaintiff requests judgment against the Defendant for the intentional infliction of

  emotional distress and an award of compensatory damages, including consequential and

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  incidental damages, interest and costs incurred as a result of bringing this action, and for any

  other relief as the Court finds just and proper.


                                VIII. FINAL PRAYER FOR RELIEF

  WHEREFORE, Plaintiffs respectfully pray that this Court:

  (a) Enter judgment against Defendant for substantial compensatory and actual damages in an

  amount not less than $5,000,000,

  (b) Enter judgment against Defendant for treble and/or punitive damages in an amount not less

  than $10,000,000,

  (c) Order Defendant to pay Plaintiffs’ reasonable attorneys’ fees, expenses and all costs,

  (d) Order trial by jury on all triable issues, which the Plaintiffs hereby demand

  consistent with Federal Rule of Civil Procedure 38,

  (e)       Award damages, to be determined at trial, to compensate Plaintiff for all non-monetary

  and compensatory harm, including, without limitation, compensation for the libel and defamation

  per se of Plaintiff’s complaint and emotional pain and suffering, and

  (f)       Such other and further relief as the Court may deem just and proper including equitable

  relief.


                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

  via e-mail generated by the Florida Court E-Filing Portal this 17th day of November, 2021, upon

  all of record.


                                                                               Ariel E. Mitchell, Esq.
                                                                               Ariel E. Mitchell, Esq.
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                                                                        Florida Bar No. 125714
                                                                                 P.O. Box 12864
                                                                               Miami, FL 33101
                                                                                 (305) 903-5835
                                                              Email service: ariel@arielesq.com


                                 VERIFICATION CLAUSE

         I, David Saulsberry, state that the allegations are true and correct as listed above
  on this 17th day of November 2021.




  _______________________________                                     ______________________
  David Saulsberry                                                    Date




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